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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

ESTEBAN PEREZ, FELIPE GALINDO, and 17-CV-7837
DELFINO LOPEZ,
Plaintiffs, PLAINTIFFS’ PRE TRIAL ORDER
-against-

50 FOOD CORP. (D/B/A SILO CAFE) and
ANDREW SUNG (AKA HWAN SEUNG SUNG),
Defendants.
x
The Plaintiffs in the above-captioned matter hereby submit this Final Pre-Trial Order

 

pursuant to Fed. R. Civ. P. 16 and 26(a)(3) and the individual practice rules of The Honorable

Richard J. Sullivan:

L PLAINTIFFS’ COUNSEL

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I. SUBJECT MATTER JURISDICTION

This Court has subject matter jurisdiction over Plaintiffs’ federal claims pursuant to the
Fair Labor Standards Act, 29 U.S.C. § 201 et seq. (“FLSA”), 29 U.S.C. § 216, and 28 U.S.C. §
1331. This Court has supplemental jurisdiction over Plaintiffs’ state law claims pursuant to 28

U.S.C. § 1367.

 
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IH. PLAINTIFFS’ CLAIMS

Plaintiffs’ Complaint, filed on October 12, 2017, asserts four causes of action arising out
of the Plaintiffs’ employment in the Defendants’ deli, Silo Cafe. Count 1 alleges that Defendants
failed to compensate Plaintiffs for overtime worked at one and one-half times the Plaintiffs’
regular rate of pay for each hour worked in excess of forty hours in violation of the Fair Labor
Standards Act from October 12, 2011 through December 31, 2015. 29 U.S.C. § 207(a). Count 2
alleges that Defendants failed to pay overtime pay in violation of the New York Labor Law
during the same period. 12 NYCRR § 142-2.2. Count 3 alleges that Defendants failed to furnish
Plaintiffs a written notice containing the information required by New York Labor Law §
195(1)(a) on or before February 1, 2012, nor on or before February 1, 2013, nor on or before
February 1, 2014. Count 4 alleges that Defendants failed to provide Piaintiffs with full and
accurate paystubs each time Defendants paid wages to Plaintiffs throughout the duration of their
employment. NYLL§ 195(3).

IV. TRIAL

This is a bench trial. Plaintiffs will require approximately 2 days for their principai case,
most of which will be presented through a Spanish interpreter. One witness will require a Korean

interpreter.

V. CONSENT TO MAGISTRATE JUDGE

The parties have not consented to trial by the magistrate judge.

VI. WITNESS LIST

A. Witnesses for Plaintiff.

 
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Plaintiffs intend to offer the testimony of Plaintiffs Esteban Perez, Felipe Galindo, and
Delfino Lopez. Plaintiffs will also offer the testimony of Defendant Andrew Sung and

witness, Minchul Kim.

VEL. DEPOSITION TESTIMONY

Deposition of Andrew Sung, May 29, 2018

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Page & Line Summary Clain
Sung is sole owner and shareholder of 50 Food

25:6-8; 18-20 Corp Individual liability
Sung implemented/created the payment reports .

155:15-25 used at 50 Food Corp. Individual liability
Sung describes purpose of visits to 50 Food

66:3-22 Corp. and review records individual liability
Manager Kim needs Sung's permission to give

70:5-25 raises to employees Individual lability
Manager Kim needed Sung's approval to give

7122-25 raises and to hire/fire employees Individual liability
Sung advised Manager Kim to issue Plaintiff

75:1-16 Galindo a warning Individual liability
Sung instructed Manager Kim to discipline

83:14-25 employees Individual liability

96; 22-25: 97; 2- | Sung makes final decision of when to close

19 business Individual liability
Sung instructed Manager Kim to use weekly

140:8-25; payment report document to track hours and

141:11-24 payments Individual liability
Sung instructed Manager Kim to fill out wage

149:5-15 notices Individual liability

151: 3-21 Sung authorizes pay rates Individual liability

152:12-16 Sung authorizes all raises Individual liability
Sung implemented the practice of using the

155:15-25 same payroll records at both Silo Cafes. Individual liability
Sung co-owned a landscape business for 25

8:16-25 years Liquidated Damages

 

 

 
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Sung was involved in preparing payroll, HR
matters, and hiring employees for landscape

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

10:3-25 business Liquidated Damages
12:12-25 Sung also owned a book store on Long Island | Liquidated Damages
Sung also owns another café/deli that also goes
22:6-13 by the name Silo Café (“32 Food Corp.”) Liquidated Damages
In 2007 or 2008, “32 Food Corp.” was
investigated by New York State Department of
Labor (NYSDOL). Sung attended the hearing
158:11-25 related to that case Liquidated Damages
32 Food Corp. manager attended seminar
169:9-18 sponsored by NYSDOL Liquidated Damages
In 2007/08, “32 Food Corp.” settled case with
164:16-21 NYSDOL for about $25,000.00 Liquidated Damages
Sung had a conversation with an accountant
about records he needed to keep and he told
144:9-25 him about the need to keep pay notice Liguidated Damages
“32 Food Corp.” was investigated twice by
157:7-24 NYSDOL Liquidated Damages
A manager from “32 Food Corp.” attended a
168:14-19 conference at NYSDOL Liquidated Damages
Depositions of Minchui Kim
June 25, 2018 36(b)(6) Deposition
Page & Line | Summary Claim
Kim does not acknowledge overtime when a worker
does not get authorization to work longer than
scheduled hours or when employees are working
13:4-11 slowly. Overtime
Kim states that if employees worked later than 4 p.m.
then they are lazy and he does not consider it over
24:16-25 time. Overtime
‘There were times when the workers received their pay
but did not sign the weekly attendance record or
31:15-22 weekly payment reports Overtime

 

 

 

 

 

 
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Kim states that less than 25 times during the course of
Kim’s employment that workers received pay without

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

33: 1-10 signing payment report or weekly attendance record. | Overtime
Kim only gave copies of payment weekly payment Wage

35:13-25 reports sometimes upon payment of wages. Notice/Statement

May 22, 2018 30(b)(6) Deposition

Page & Line | Summary Claim
Sung trained Kim re: payroll including hourly

18:21 - 19:8 rate and overtime rate Individual liability
Sung told Manager Kim to have employees

19:9 - 19:11 sign for pay every week Individual liability

19:12-19:18 | Sung set pay Individual liability

20:3 - 20:11 Sung created payroll docs Individual liability

38:23 - 39:6 Sung is sole owner of 50 Food Corp. Individuai liability
Sung decided when 50 Food Corp. would

41:17-41:19 | close Individual liability

50:20 - 51:4 Sung set start and end times for employees Individual liability

51:7 - 51:9 Sung set start and end times for employees Individual liability
Sung instructed Manager Kim to track

53:3 - 53:5 employees start and end times Individual liability

67:15 - 68:2 Sung set policy for firing employees Individual liability

71:21 - 71:24 | Sung decided to give bonuses Individual liability

72:3 - 72:5 Sung decided to give bonuses Individual liability

72:11 - 73:11 | Sung gave record keeping instructions Individual liability
Some times employees signed pay sheets

81:11 - 81:18 | much later Inaccurate records
Goal was to ensure employees received a

88:11 - 88:17 | weekly salary Inaccurate records
Goal was to ensure employees received a

89:9 - 89:13 weekly salary Inaccurate records
Sung instructed Kim to use wage payment

93:14 - 93:22 | forms Individual liability
Sung was in charge of payroll for first two

95:18 - 95:22 | years Individual liability

103:25 - 104:5 | Sung set rates of pay Individual liability

106:7- 106:9 | Sung made the decision to issue raises Individual liability

106:10 - .

106:18 Sung kept payroll files Individual liability

 

 

 

 
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114:17 - Kim had workers sign several weekly payment | Overtime/reliability
114:19 reports at once of records
115:17 - Plaintiffs signed several weekly payment Overtime/reliability
115:21 reports at once of records
Kim had workers sign several weekly payment | Overtime/reliability
117:5- 117:11 | reports at once on multiple occasions of records
130:6 - 130:9 | Sung had authority to instruct Plaintiff Perez _| Individual liability
132:9 - 132:13 | Salary increases were approved by Sung Individual liability
Sung had authority to instruct Plaintiff
134:23 - 135:3 | Galindo Individual liability

 

 

5/22/2018 Individual Deposition

 

 

 

 

 

 

 

 

 

Page &

Line Summary Claim

5:5 - 5:8 Sung reports to 50 Food Corp. once a week or every other Individual
week liability

8:7 ~ 9:2 Manager Kim would get Sung's permission before firing Individual
employees liability

22:2 - 22:8 | Kim concedes that Plaintiff Lopez receives a set weekly salary | Overtime

23:23 - Sung instructed Kim to have employees sign paid sick leave Individual

24:2 forms liability

27:7 - Individual

27:10 Sung decided to stop paying holidays liability

 

VILL. EXHIBITS

 

 

 

 

 

Exhibit Bate Stamp No. | Description
Exhibit A P000130- Documents from FOIL Request to New York
POG00139 State Department of Labor regarding the

investigation of Silo Café, 32 Food Corp., owned
by Defendant Andrew Sung

Exhibit B P000062-3 Wage Notices (Form LS548S) dated 4/29/15 and
7/6/16 signed by Felipe Galindo

Exhibit C P000006 Wage Notice (Form LS54S) dated 7/6/16 signed
by Delfino Lopez

 

 

 

 

 

 
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Exhibit D None

 

 

Stipulation signed by parties dated March 29,
2018

 

 

Dated: September 20, 2018

 

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BY:
{sf}
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SO ORDERED

 

The Honorable Richard J. Sullivan

 

 
